                               Case 18-23004         Doc 32     Filed 05/29/19      Page 1 of 1

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:   Case No.: 18−23004 − MMH           Chapter: 13

Nkiambi Jean Lema
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  29 − Motion for Relief from Stay and Notice of Motion Re: 230 E. 25th Street and 3605 Blair
                           Avenue. Fee Amount $181. Notice Served on 5/28/2019, Filed by Worthington Alternative
                           Capital, LLC. Objections due by 06/11/2019. with three additional calendar days allowed if all
                           parties are not served electronically. Hearing scheduled for 07/18/2019 at 10:00 AM −
                           Courtroom 9−C. (Attachments: # 1 Exhibit # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Index # 6
                           Notice of Motion) (Heyman, Gordon)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 6/12/19.

                           Incorrect objection date provided on Notice of Motion.

CURE:                      Please file amended Notice of Motion providing correct objection date with Certificate of
                           Service to all affected parties.

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 5/29/19
                                                                 Mark A. Neal, Clerk of Court
                                                                 by Deputy Clerk, Calton Brown
                                                                 (301) 344−0407
cc:    Debtor
       Attorney for Debtor − Kim D. Parker

defntc (rev. 12/12/2016)
